     Case 2:19-cv-00168-JAD-DJA Document 130 Filed 07/29/21 Page 1 of 4




 1   STIP
     LESLIE MARK STOVALL, ESQ.
 2   Nevada Bar No. 2566
 3   ROSS MOYNIHAN, ESQ.
     Nevada Bar No. 11848
 4   STOVALL & ASSOCIATES
     2301 Palomino Lane
 5   Las Vegas, NV 89107
 6   Telephone: (702) 258-3034
     E-service: court@lesstovall.com
 7   Attorney for Plaintiff
 8
 9                               UNITED STATES DISTRICT COURT

10                                       DISTRICT OF NEVADA
11
12   KATHRYN MAYORGA, an individual       )
                                          )                2:19-cv-00168-JAD-DJA
13                      Plaintiff,        )
     vs.                                  )
14
                                          )
15   CRISTIANO RONALDO, individually,     )
     Does I-XX and Roe Corporations I-XX; )
16                      Defendants.       )
17   ____________________________________)

18
                       STIPULATION TO STAY ALL DISCOVERY PENDING
19
20                      THE COURT’S DECISION ON VARIOUS MOTIONS

21                                            (First Request)
22          IT IS HEREBY STIPULATED AND AGREED BY AND BETWEEN plaintiff
23
     KATHRYN MAYORGA by and through her attorney LESLIE MARK STOVALL, ESQ. and
24
     defendant, CRISTIANO RONALDO, by and through his attorney PETER S. CHRISTIANSEN,
25
26   ESQ., that the parties will stay this action and the process of discovery pending resolution of the

27   defendant’s motion for case terminating sanctions and/or to disqualify [ECF 111 and 112],
28
     defendant’s motion for leave to (i) file under Page
                                                    seal1 exhibits
                                                          of 2
                                                                   D, P and W to defendant’s emergency
     Case 2:19-cv-00168-JAD-DJA Document 130 Filed 07/29/21 Page 2 of 4




 1   motion for case terminating sanctions [ECF 113] and plaintiff’s motion for in camera review of
 2   the football leaks documents to determine whether the crime/fraud exception applies [ECF 124].
 3
     Further, the parties agree to submit a revised discovery plan and proposed scheduling order
 4
     within 30 days after entry of a decision on the various Motions identified above in the event this
 5
 6   matter is not resolved.

 7           The parties have stipulated to stay discovery for the following reasons: Pending before
 8
     the court are defendant’s motion for case terminating sanctions or disqualification of plaintiff’s
 9
     counsel [ECF 111 and 112], defendant’s motion for leave to file under seal exhibits D, P and W
10
     to defendant’s motion emergency motion for case terminating sanctions [ECF 113] and
11
12   plaintiff’s motion for in camera review of the Football Leaks documents to determine whether

13   the crime/fraud exception applies [ECF 124]. The court responded to the filing of defendant’s
14
     emergency motion for case terminating sanctions and to disqualify Stovall and Associates by
15
     determining that expedited consideration was unnecessary, ordering that response and reply
16
17   briefs be due in the ordinary course, that depositions scheduled on June 23, 24, 25 and 28 not go

18   forward on the schedule dates and be stayed until the court rules on the pending motions and
19   finally ordering that expert deadline is stayed pending ruling on the instant of motion [ECF 114].
20
     The parties stipulated to extend time for the filing of replies and oppositions to August 18, 2021
21
     and September 1, 2021 which this court reduced to order on July 28, 2021 [ECF 128].
22
23           Under the current scheduling order, the close of discovery is set for October 31, 2021.

24   Because the court’s decision on the pending motions could potentially be case terminating, and
25   at a minimum, likely to impact which documents may be used during the remaining depositions,
26
     the parties believe it to be in the best interest of both sides to stay discovery. If the parties
27
     proceed with depositions absent such rulings, their questioning will be significantly limited and
28
                                                     Page 2 of 3
     Case 2:19-cv-00168-JAD-DJA Document 130 Filed 07/29/21 Page 3 of 4




 1   certain witnesses would likely need to be recalled, thereby duplicating time and resources.
 2   Additionally, if the court enters case terminating sanctions, all further discovery would be for
 3
     naught. For these reasons that parties have stipulated to stay discovery pending the court’s
 4
     decisions on the subject motions and request that the court approve their stipulation and order a
 5
 6   stay of discovery as requested.

 7   Dated this 29, July, 2021                               Dated this 29, July, 2021
     STOVALL AND ASSOCIATES                                  CHRISTIANSEN TRIAL LAWYERS
 8
     /s/ Leslie Mark Stovall                                 /s/ Kendelee Work
 9   _____________________                                   _______________________
     LESLIE MARK STOVALL, ESQ.                               PETER S. CHRISTIANSEN, ESQ.
10   Stovall & Associates                                    KENDELEE LEASCHER WORKS, ESQ.
     2301 Palomino Lane                                      Christiansen Law Office
11
     Las Vegas, NV 89107                                     810 Casino Center Blvd., Suite 104
12   (702) 258 3034                                          Las Vegas, NV 89101
     Fax: (702) 258 0093                                     (702) 570-9262
13   Email: les@lesstovall.com
14
15
                                                  ORDER
16
17          IT HEREBY ORDERED that any further discovery should be stayed pending resolution

18   of the defendant’s motion for case terminating sanctions and/or to disqualify [ECF 111 and 112],
19   defendant’s motion for leave to (i) file under seal exhibits D, P and W to defendant’s emergency
20
     motion for case terminating sanctions [ECF 113] and plaintiff’s motion for in camera review of
21
     the football leaks documents to determine whether the crime/fraud exception applies [ECF 124].
22
23          IT IS FURTHER ORDERED that the parties shall submit a discovery plan and

24   proposed scheduling order within 30 days after entry of a decision on the defendant’s motion for
25   case sanction terminations and/or to disqualify [ECF 111 and 112], defendant’s motion for leave
26
     to (i) file under seal exhibits D, P and W to defendant’s emergency motion for case terminating
27
28
                                                   Page 3 of 4
     Case 2:19-cv-00168-JAD-DJA Document 130 Filed 07/29/21 Page 4 of 4




 1   sanctions [ECF 113] and plaintiff’s motion for in camera review of the football leaks documents
 2   to determine whether the crime/fraud exception applies [ECF 124].
 3
            DATED this ____ day of July, 2021
 4
                                                 _____________________________________
 5                                               THE HONORABLE DANIEL J. ALBREGTS
 6                                               UNITED STATES MAGISTRATE JUDGE

 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 Page 4 of 4
